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                         IN THE UNITED STATES DISTRICT COURT                          DISTRICT OF

                         DISTRICT OF UTAH, CENTRAL DIVISION                                  .- -                             ·-·-,-· "•..,   - ~--~.

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 UNITED STATES OF AMERICA,                        WARRANT AND SUMMONS FOR
                                                  ARREST OF ARTICLES IN REM
                             Plaintiff,

                                     v.
                                                      Case: 2: 18-cv-00086
 MOSSBERG 30-06 RIFLE, PATRIOT                        Assigned To : Benson, Dee
 CAMOPATTERN, SERIAL NO.                              Assign. Date : 1/25/2018
 MPR0015604 with scope MUELLER; and                   Description: USA v. Mossberg 30-60
                                                      Rile, Patriot Camo Pattern, Serial No.
                                                      MPR0015604 with scope Mueller et al
 MOSSBERG .375 cal., SERIAL NO.
 MPR012863,

                           Defendants.


       To the United States Marshal of the District of Utah and/or Any Other Duly Authorized

Law Enforcement Officer:

       WHEREAS, a Verified Complaint for Forfeiture In Rem was filed in the United States

District Court for the District of Utah on January 25, 2018, alleging that the Defendant properties

are subject to forfeiture to the United States of America pursuant to 18 U.S.C. § 924(d).

       WHEREAS, pursuant to the Supplemental Rules for Admiralty or Maritime Claims and

Asset Forfeiture Actions, Rule G(3)(b)(i), the Clerk of the Court is authorized to issue a Warrant

for Arrest of Articles In Rem if the Defendant properties are in the possession or custody of the

government.

       YOU ARE THEREFORE, HEREBY COMMANDED to arrest and seize the Defendant

property identified as
            Case 2:18-cv-00086-DB Document 2 Filed 01/25/18 Page 2 of 2




    •   MOSSBERG 30-06 RIFLE, PATRIOT CAMO PATTERN, SERIAL NO. MPR0015604
        with scope MUELLER; and

    •   MOSSBERG .375 cal., SERIAL NO. MPR012863,


and use discretion and whatever means appropriate to protect and maintain said Defendant

properties, and detain it in your custody or in the custody of an authorized agency until further

order of the Court.

        YOU ARE FURTHER COMMANDED, promptly after execution of this process, to file

the same in this Court with your return thereon, identifying the individuals upon whom copies

were served and the manner employed.
                         ~
        Dated this 'V)    day of January, 2018.


                                              D. MARK JONES
                                              Clerk of the Court


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                                              DEPqfYCLRK .




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